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Attorney for Debtors

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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA

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In Re: Case No. BK-N-14-50333-BTB

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WwW bd

ANTHONY THOMAS and Chapter 11

WENDI THOMAS,
DECLARATION OF ANTHONY
Debtors, THOMAS IN SUPPORT OF
MOTION FOR AUTHORITY TO
PAY ORDINARY MONTHLY
LIVING EXPENSES NUNC PRO
TUNC

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Hearing Date: OST Pending
/ Hearing Time: OST Pending

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I, Anthony Thomas, hereby declare under penalty of perjury of the laws of the

United States that the following facts are true to the best of my knowledge and belief:

Ny N
a)

1. That I am over the age of 18 years of age, and I am mentally competent. I
make this declaration in support of Debtors’ MOTION FOR AUTHORITY TO PAY
ORDINARY MONTHLY LIVING EXPENSES NUNC PRO TUNC (the “Motion”).

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ke WwW WN

2. That I am currently employed as a driver for Danny Thomas Party Rentals.

3. That I have an immediate need to use my post-petition earnings to pay our

N WN
N AN

reasonably necessary living and business expenses.

4, Attached hereto as Exhibit “A” is my wife, Wendi Thomas, and my

Ny N
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personal budget. The budget represents reasonable and necessary costs of living. I have

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(775) 786-4579 H:\Thomas\Mot Pay Expenses\Decl Mot Pay Expenses 031814-dig.wpd

 

 
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(715) 785-4879

prepared the budget and the budget fairly and reasonably depicts our present financial
condition and our projected income and expenses.
Dated this 4 day of March, 2014.

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Exhibit “A”
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Thomas Family recurring monthly expenses~
Rent- $2,150.00

Renters Ins. $40.00

Elec/Gas- $200.00

Water- $80.00

Dish TV- $115.00

Auto exp. (fuel) - $500

Auto Ins. $230.00

Food- $1,000.00

Personal Care products- $60.00
Household care-$75.00

Education expenses for children-$50.00
Property insurance - $117.92

TOTAL $4,617.92
